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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT

                                                             )
    ERICA LAFFERTY; DAVID WHEELER;                           )
    FRANCINE WHEELER; JACQUELINE                             )   ADV. PROC. NO. 22-05019
    BARDEN; MARK BARDEN; NICOLE                              )
    HOCKLEY; IAN HOCKLEY; JENNIFER                           )
    HENSEL; JEREMY RICHMAN; DONNA                            )   AUGUST 10, 2022
    SOTO; CARLEE SOTO-PARISI; CARLOS                         )
    M. SOTO; JILLIAN SOTO; AND WILLIAM                       )
    ALDENBERG,                                               )
                                                             )
    Plaintiffs,                                              )
                                                             )
    v.                                                       )
                                                             )
    ALEX EMRIC JONES; FREE SPEECH                            )
    SYSTEMS, LLC,                                            )
                                                             )
    Defendants.                                              )
    __________________________________________


MOTION FOR REMOTE HEARING AND BRIEF CONTINUANCE DUE TO POSITIVE
                         COVID TEST

         The Court has scheduled a hearing on an expedited basis on the plaintiffs’ Motion for

Remand (ECF No.5), which is currently scheduled for today, August 10, 2022 at 3:00 p.m.1

Attorney Alinor Sterling was preparing to make the plaintiffs’ presentation to the Court in

connection with the Motion for Remand. However, Attorney Sterling tested positive for COVID-

19 yesterday evening at 10:30 p.m.

         Despite Attorney Sterling’s illness, the plaintiffs still wish to proceed with the remand

hearing as soon as possible, but require a brief continuance to provide Attorney Sterling a day to



1
 The hearing was originally scheduled for 2:00 p.m. Earlier today, the Court continued the
hearing to 3:00 p.m. per the request filed yesterday, August 9, 2022, by counsel for Free Speech
Systems, LLC and Alex Jones.

                                                   1
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manage the illness and for another attorney to prepare the presentation in the event Attorney

Sterling cannot proceed due to worsening symptoms.

        The plaintiffs have alerted Attorney Pattis, counsel for Free Speech Systems, LLC and

Alex Jones, to these issues.

        WHEREFORE, the plaintiffs respectfully request the following relief:

            1. That the hearing on the Motion for Remand be continued to August 11, 2022 or

                 August 12, 2022 at a time convenient for the Court.

            2. That the hearing be fully remote.

        Respectfully submitted this 10th day of August, 2022 at Bridgeport, Connecticut.

                                           By:      /s/ Alinor C. Sterling
                                                    Alinor C. Sterling (Fed. Bar No. ct17207)
                                                    Christopher M. Mattei (Fed. Bar No. ct27500)
                                                    Koskoff, Koskoff & Bieder PC
                                                    350 Fairfield Avenue
                                                    Bridgeport, CT 06604
                                                    Telephone: (203) 336-4421
                                                    Facsimile: (203) 368-3244
                                                    Email: asterling@koskoff.com
                                                            cmattei@koskoff.com
                                                    Counsel for the Plaintiffs 2


                                           By:     /s/ Eric Goldstein
                                                   Eric Goldstein (Fed. Bar No. ct27195)
                                                   Jessica M. Signor (Fed. Bar No. ct30066)
                                                   Shipman & Goodwin LLP
                                                   One Constitution Plaza
                                                   Hartford, CT 06013
                                                   Telephone: (860) 251-5000
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                                                   Email: egoldstein@goodwin.com
                                                           jsignor@goodwin.com
                                                  Counsel for the Individual Plaintiffs3

 2
   Koskoff, Koskoff & Bieder represents all of the plaintiffs, including Richard M. Coan solely in his capacity as
 Chapter 7 Trustee of the bankruptcy estate of Erica L. Garbatini.
 3
   In connection with this proceeding, Shipman & Goodwin LLP represents David Wheeler, Francine Wheeler,
 Jacqueline Barden, Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto-Parisi,

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                                   CERTIFICATE OF SERVICE
        I hereby certify that on August 10, 2022, a copy of foregoing Motion for Remote Hearing

and Brief Continuance Due to Positive COVID Test was filed electronically and served by mail

on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all

parties by operation of the Court's electronic filing system or by First Class mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this filing through the Court’s CM/ECF System.

                                                          /s/ Alinor C. Sterling
                                                          ALINOR C. STERLING
                                                          CHRISTOPHER M. MATTEI

                                                          /s/ Eric Goldstein
                                                          ERIC GOLDSTEIN
                                                          JESSICA M. SIGNOR




 Carlos Mathew Soto, Jillian Soto, William Aldenberg, William Sherlach, and Robert Parker (collectively, the
 “Individual Plaintiffs”).

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